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                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

    In re:
                                                                       Case No.: 3:16-bk-02230-PMG
    RMS TITANIC, INC., et al.,
                                                                       Chapter 11
                       1
          Debtors.
    ________________________________/                                  (Jointly Administered)

    LIMITED OPPOSITION OF THE OFFICIAL COMMITTEE OF EQUITY SECURITY
      HOLDERS OF PREMIER EXHIBITIONS, INC. TO THE MOTION OF EUCLID
      CLAIMS RECOVERY LLC FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

             The Official Committee of Equity Security Holders (the “Equity Committee”) of Premier

Exhibitions, Inc. (“Premier”), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG, hereby files

its response and limited opposition (“Response”) to the Motion of Euclid Claims Recovery LLC

For Appointment of Chapter 11 Trustee (the “Trustee Motion”) (Doc. 1013), and in support of its

Response respectfully represents the following:

                                             FACTUAL BACKGROUND

             1.      On June 14, 2016 (the "Petition Date"), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned,

jointly administered bankruptcy case (the "Bankruptcy Case").

             2.      The Debtors continue to operate their businesses as debtors in possession pursuant

to Bankruptcy Code Section 1107 and 1108.

             3.      No trustee or examiner has been appointed in the Bankruptcy Case.




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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number
include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management, LLC (3101);
Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier Exhibitions
NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the
"Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


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         4.       On August 24, 2016, the Acting United States Trustee, Guy G. Gebhardt, appointed

the members of the Equity Committee. On August 31, 2016, the Equity Committee selected

Landau Gottfried & Berger LLP and Akerman LLP as its general bankruptcy counsel.

         5.       Euclid filed it Trustee Motion on May 1, 2018, which is set for a preliminary

hearing on June 7, 2018.

                                   EQUITY COMMITTEE RESPONSE

         6.       As these chapter 11 cases near their second anniversary, the Equity Committee

understands the frustration voiced by Euclid in its Trustee Motion. The Equity Committee has

itself experienced frustration in these cases. As the court will recall, in January 2017 the Equity

Committee opposed an extension of the Debtors’ exclusive right to propose a chapter 11 plan. In

its opposition to exclusivity, the Equity Committee noted that during the first ten months after

commencement of the cases, not only did the Debtors make no progress in the cases, but they

failed and adamantly refused even to confer with the official committees.2

         7.       The Debtors’ intransigence changed soon after the January 2017 hearing on

exclusivity. By May 2017 the Equity Committee, the Debtors, and the Official Committee of

Unsecured Creditors agreed upon a Plan Support Agreement under which the parties agreed to

support a sale of the Debtors or their assets and a plan of reorganization in support of that sale.

Thereafter the Equity Committee and the Debtors may have disagreed as to the best method to

accomplish that end, but there has been agreement that a chapter 11 plan that is consistent with the

Plan Support Agreement was in the best interests of all parties. For that reason, the Equity




2
  For an account of the Debtors’ failure to administer the estate effectively during the crucial first year of the cases,
the Equity Committee respectfully refers the Court to Opposition of The Official Committee of Equity Security Holders
to Debtors’ Second Motion for Extension of Exclusivity, Docket 407.


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Committee has stayed at the table, negotiating an exit from Chapter 11 that the Equity Committee

believes to be in the best interests of equity holders, of creditors, and of the estate.

         8.      The Equity Committee continues to believe that the best interests of the estate will

be served by a sale and liquidating plan process. The appointment of a chapter 11 trustee at this

late stage in the case would effectively cause the case to start over again. Rather, the Equity

Committee believes that the confirmation of a Chapter 11 Plan under which the Estate’s assets

would be liquidated would best serve the interests of the Debtors, the creditors, and all parties in

interest in these Chapter 11 cases.

         9.      Toward that end, on June 1, 2018, the Equity Committee filed its Chapter 11 Plan

of Reorganization Proposed by The Official Committee of Equity Security Holders of Premier

Exhibitions, Inc. [Docket 1045] and its Disclosure Statement to Accompany Chapter 11 Plan of

Reorganization Proposed by The Official Committee of Equity Security Holders of Premier

Exhibitions, Inc. [Docket 1044].

         10.     The Equity Committee Plan is intended to bring these Chapter 11 cases to

conclusion by transferring the Estate’s assets to a Liquidating Trust which will manage the assets

pending their disposition.     After exiting Chapter 11, the Liquidating Trustee will operate the

Debtors while preparing for their sale and will liquidate the assets that will bring most value into

the Estate.

                                           CONCLUSION

         11.     Accordingly, the Equity Committee submits this limited opposition to the Trustee

Motion asserting that, while it would benefit the estate to have a third party manage the liquidation

and winding down of the estate and its assets, the better course to accomplish that end would be




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the confirmation of a liquidating Chapter 11 Plan under which a Litigating Trustee would manage

the liquidation process after conclusion of these Chapter 11 cases.

 Dated: June 1, 2018                           Peter J. Gurfein, Esq.
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                                               -and-

                                               AKERMAN LLP
                                               By: /s/ Jacob A. Brown
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                                               Florida Bar No. 170038
                                               50 North Laura Street, Suite 3100
                                               Jacksonville, Florida 32202
                                               (904) 798-3700
                                               (904) 798-3730 (Facsimile)
                                               Jacob.brown@akerman.com
                                               Attorneys for the Official Committee of Equity
                                               Security Holders of Premier Exhibitions, Inc.


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 1, 2018, the foregoing was transmitted to the Court for
uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will send a
notice of electronic filing to all creditors and parties in interest who have consented to receiving
electronic notifications in this case. In accordance with the Court's Order Granting Debtors'
Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice Procedures
(Doc. 140), a copy of the foregoing was also furnished on June 1, 2018 by U.S. mail, postage
prepaid and properly addressed, to the Master Service List attached hereto.

                                                             /s/ Jacob A. Brown
                                                             Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

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300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
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                                            Jacksonville, FL 32202

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                                            Macon, GA 31208
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TSX Operating Co., LLC                 Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                        c/o Ezra B. Jones
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New York, NY 10018                     Atlanta, GA 30328
Creditor Committee                     Creditor Committee

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New York, NY 10017
Creditor Committee
